           Case 1:17-cr-00129-RDM Document 96 Filed 06/01/18 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :        CASE NO. 17-CR-129 (RDM)
                                                       :
                  v.                                   :
                                                       :
MARIO A. TAYLOR,                                       :
                                                       :
                           Defendant.                  :

                 GOVERNMENT’S RESPONSE TO THE COURT’S INQUIRY 1

         The United States of America, by and through its attorney, Jessie K. Liu, the United States

Attorney for the District of Columbia, hereby files this response to the Court’s inquiry regarding

United States v. Dorman, 860 F.3rd 675 (D.C. Cir. 2017), with respect to the government’s

expectant evidence in the upcoming trial of the defendant.

                                                    ANALYSIS
         In Dorman, the defendant kept a bedroom in the basement of his mother’s multi-level

house. Id. at 679. Dorman was tied to the basement bedroom by, inter alia, painting of himself

playing football and other personal items, including judicial court papers in Dorman’s name. Id.at

678. Dorman’s mother also referred to the bedroom as Dorman’s “home base,” although she

testified that Dorman “stayed in many places.” Id. at 678-679. The police suspected Dorman of

robbing a jewelry store in Maryland, and executed a search warrant on his mother’s house to look

for evidence of the robbery. Id. at 678. Instead of robbery proceeds, the police found a loaded

handgun between the box springs and the mattress of the bed in Dorman’s basement bedroom, and

a 15.2-ounce Tropicana bottle of PCP secreted next to the washer/ dryer in a common laundry

room, also in the basement. Id.


1
  In addition, the government is attaching to this filing a copy of a revised proposed verdict form for consideration at
the upcoming pre-trial conference scheduled for June 6, 2018.

                                                     Page 1 of 5
            Case 1:17-cr-00129-RDM Document 96 Filed 06/01/18 Page 2 of 5



       Our Circuit Court held that the government’s evidence was sufficient for constructive

possession of the handgun, but insufficient to prove constructive possession of the PCP in the

laundry room. Id. at 684. The government avers that the Circuit Court’s rationale in Dorman

regarding the PCP can be summarized and distinguished for the instant case as follows: (1) Dorman

was not the owner or leaseholder of the residence; (2) many other people had access to the whole

house, including the common area of the basement where the PCP was found; (3) neither the PCP

nor any of the contraband in the house was in plain view; and (4) Dorman was not present at the

time the police recovered the PCP.

                THE INSTANT CASE IS DISTINGUISHABLE FROM DORMAN

       As previously outlined to this Court at the motions hearing and in other testimony and the

expectant testimony at trial, the government would respectfully proffer the following:

       1)       Primary leaseholder: In the instant case, the fact that defendant Taylor was the

singular primary leaseholder for the residence is a major point of distinction from Dorman. The

Circuit Court’s rationale stressed that Dorman was “neither the lessee nor owner of [the residence],

and there was no evidence of mail addressed to him at that address; paperwork from his arrest in

Pennsylvania in the basement bedroom listed [another D.C. address] as his address.” Id. at

680. Importantly, other Courts have held that “[t]he natural inference is that those who live in a

house know what is going on inside, particularly in the common areas.” United States v. Jenkins,

928 F.2d 1175, 1179 (D.C. Cir. 1991). See also, e.g., United States v. Morris, 977 F.2d 617, 620

(D.C. Cir. 1992) (“a jury is entitled to infer that a person exercises constructive possession over

items found in his home”); United States v. Long, 905 F.2d 1572, 1577-78 (D.C. Cir. 1990) (a

person who exercises dominion and control over given premises constructively possesses

contraband found on those premises).

                                            Page 2 of 5
            Case 1:17-cr-00129-RDM Document 96 Filed 06/01/18 Page 3 of 5



       2)       Two ammunition loaded magazines found in plain view: Two AR-15

magazines found in plain view under the kitchen table in the common area of the apartment will

provide powerful evidence that defendant Taylor, as the leaseholder and primary occupant of the

apartment, exercised dominion and control over both of the magazines in plain view under the

kitchen table and the AR-15 rifle and two more additional ammunition loaded magazines found in

the common closet in the apartment. This evidence is important because all the ammunition and

magazines fit the weapon found in the closet. By contrast, the Circuit Court’s rationale in Dorman

stressed that none of the contraband in that case was found in plain view. Id. at 681.

       Therefore, the absence of any contraband in plain view was a factor where the Circuit Court

distinguished that case from United States v. Jenkins, 928 F.2d 1175 (D.C. Cir. 2008) (In Jenkins,

the Circuit Court found sufficient evidence of constructive possession of drug evidence in a

common area of a shared home – where the drug evidence was in plain view – based in part on

possession of ammunition in the defendant’s private bedroom and the “gun and drug” link.) In

fact, the Circuit Court held that, “[t]here is no evidence that PCP or PCP drug paraphernalia were

in plain view in the common areas of Dorman’s mother’s home.” Dorman, 860 F.3d at 681. While

in this case the government does not have the “gun/ drug” link here; however, the link between the

two magazines in plain view and the AR-15 and two additional loaded magazines found in the

common closet itself is even more direct than the indirect gun/ drug link outlined in Jenkins.

       3)       Presence at the residence at the time of the seizure: The instant case is also

distinct from Dorman because defendant Taylor was present at the apartment at the time law

enforcement officers recovered the contraband. By contrast, the Circuit Court noted; “Nor was

Dorman physically present or behaving suspiciously during the search of his mother’s home. That




                                            Page 3 of 5
          Case 1:17-cr-00129-RDM Document 96 Filed 06/01/18 Page 4 of 5



absence “magnifies the importance of these evidentiary holes in the government’s case.” Id at 681

(quoting United States v. Lawrence, 471 F.3d 135, 142 (D.C. Cir. 2006)).

  4)   Access to the home: The expectant testimony at trial will prove that defendant Taylor and

one other person, who lived in a room in the apartment, were lawful residents. In Dorman, there

were three people (including Dorman) who lived in the house, and multiple other people who had

keys and/or regular access and “[v]arious other individuals also frequented” the location as well.

Id. at 679. In addition, a family friend of Dorman’s mother, who also lived in the location, testified

that he let other individuals into the home at Dorman’s request when “no one else was there.” Id.

at 679. Moreover, in Dorman the Circuit Court found that there were “[t]oo many other individuals

had access to the home whose activities were not specifically described.” Id. at 683.

       In sum, the government respectfully avers that the Circuit Court’s rationale in Dorman

hewed to the traditional constructive possession concepts of dominion and control. “The

government must prove beyond a reasonable doubt that ‘“the defendant knew of, and was in a

position to exercise dominion and control over, the contraband.”’(quoting United States v.

Littlejohn, 489 F.3d 1335, 1338 (D.C. Cir. 2007). Id. at 679.




                                             Page 4 of 5
         Case 1:17-cr-00129-RDM Document 96 Filed 06/01/18 Page 5 of 5



       Wherefore, the government files this response to the Court’s inquiry regarding United

States v. Dorman, 860 F.3rd 675 (D.C. Cir. 2017), with respect to the expectant evidence in the

upcoming trial of the defendant.




                                           Respectfully submitted,

                                           JESSIE K. LIU
                                           UNITED STATES ATTORNEY

                               By:                 /s/______________________
                                           EMORY V. COLE
                                           PA #49136
                                           Assistant U.S. Attorney
                                           PA Bar No. 49136
                                           (202) 252-7692
                                           Violent Crimes & Narcotics Trafficking
                                           555 4th Street, N.W., 4th Floor
                                           Washington, D.C. 20530




                                          Page 5 of 5
